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                                      January 8, 2021


Honorable Gregory H. Woods
United State District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Natalie Mayflower Sours Edwards,
               19-cr-00064 (GHW)

Dear Judge Woods:

        After conferring with the government, I write in response to the Court’s
order filed January 7, 2021, to suggest mutually agreeable dates for Dr. Edwards’
sentencing. The parties propose that sentencing occur on March 24, 25 or 26,
2021, or any day the week of March 29, 2021. Dr. Edwards wants to be
sentenced in person, and it appears more likely that two months from now travel
restrictions, including quarantine requirements, will be relaxed. Depending on the
speed with which vaccinations become available to the general public, it is also
possible that Dr. Edwards and I will have been vaccinated, which would permit us
to meet in person to discuss her sentencing, which has not been feasible to date.

                                                            Respectfully submitted,


                                                            _________/s/_________
                                                            Stephanie Carvlin

cc:    AUSA Kimberly J. Ravener (via ECF)
       AUSA Daniel C. Richenthal
